              Case 1:18-cv-23630-MGC Document
JS 44 (Rev. 06/17) FLSD Revised 06/01/2017    1 Entered
                                          CIVIL  COVERon FLSD Docket 09/05/2018 Page 1 of 11
                                                        SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a) PLAINTIFFS BREEALLE HOLLYFIELD,DANNY                                                                     DEFENDANTS VITORI PRODUCTIONS, INC.
                           JOHNSON, California residents,                                                                  a Florida corporation,
                           KHEVIONNA DAVIS, a Georgia resident,
   (b) County of Residence and  COURTNEY
                           of First Listed PlaintiffPETTIGREW
                                                     Los Angeles                                                County of Residence of First Listed Defendant             Miami-Dade County
                           a Nevada
                         (EXCEPT         resident,
                                    IN U.S. PLAINTIFF CASES)                                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:                      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                           THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                       Attorneys (If Known)
  Cueto Law Group, P.L.
  4000 Ponce de Leon Blvd., STE 470
(d) CheckGables,
  Coral           FL 33146
         County Where   Action 305-777-0377
                               Arose: ✔ MIAMI- DADE                   MONROE         BROWARD           PALM BEACH        MARTIN    ST. LUCIE       INDIAN RIVER     OKEECHOBEE        HIGHLANDS


II. BASIS OF JURISDICTION                        (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                            (For Diversity Cases Only)                                        and One Box for Defendant)
    1    U.S. Government             ✔   3                 Federal Question                                                          PTF        DEF                                           PTF DEF
           Plaintiff                          (U.S. Government Not a Party)                            Citizen of This State           1           1     Incorporated or Principal Place          4      4
                                                                                                                                                         of Business In This State

    2    U.S. Government                 4                    Diversity                                Citizen of Another State            2         2   Incorporated and Principal Place          5       5
           Defendant                          (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                       Citizen or Subject of a             3         3   Foreign Nation                            6       6
                                                                                                         Foreign Country
IV. NATURE OF SUIT                   (Place an “X” in One Box Only)                               Click here for: Nature of Suit Code Descriptions
           CONTRACT                                          TORTS                                     FORFEITURE/PENALTY                      BANKRUPTCY                           OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                 PERSONAL INJURY                     625 Drug Related Seizure             422 Appeal 28 USC 158              375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -                   of Property 21 USC 881           423 Withdrawal                     376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability               690 Other                                28 USC 157                       3729 (a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                                                            400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                        PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                                      820 Copyrights                     430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                                    830 Patent                         450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                                    835 Patent – Abbreviated           460 Deportation
                                                                                                                                               New Drug Application
      Student Loans                   340 Marine                          Injury Product                                                       840 Trademark                      470 Racketeer Influenced and
      (Excl. Veterans)                345 Marine Product                  Liability                                LABOR                         SOCIAL SECURITY                  Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                    710 Fair Labor Standards             861 HIA (1395ff)                   480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud                         Act                              862 Black Lung (923)               490 Cable/Sat TV
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending                720 Labor/Mgmt. Relations            863 DIWC/DIWW (405(g))             850 Securities/Commodities/
  190 Other Contract                      Product Liability           380 Other Personal                  740 Railway Labor Act                864 SSID Title XVI                 Exchange
  195 Contract Product Liability      360 Other Personal                  Property Damage                 751 Family and Medical               865 RSI (405(g))                   890 Other Statutory Actions
  196 Franchise                           Injury                      385 Property Damage                     Leave Act                                                           891 Agricultural Acts
                                      362 Personal Injury -               Product Liability               790 Other Labor Litigation                                              893 Environmental Matters
                                          Med. Malpractice                                                791 Empl. Ret. Inc.                                                     895 Freedom of Information
       REAL PROPERTY                     CIVIL RIGHTS                PRISONER PETITIONS                       Security Act                      FEDERAL TAX SUITS                 Act
    210 Land Condemnation           ✘ 440 Other Civil Rights           Habeas Corpus:                                                          870 Taxes (U.S. Plaintiff          896 Arbitration
    220 Foreclosure                   441 Voting                       463 Alien Detainee                                                          or Defendant)                  899 Administrative Procedure
    230 Rent Lease & Ejectment        442 Employment                   510 Motions to Vacate                                                   871 IRS—Third Party 26             Act/Review or Appeal of
                                                                       Sentence                                                                USC 7609
    240 Torts to Land                 443 Housing/                        Other:                                                                                                  Agency Decision
                                      Accommodations
    245 Tort Product Liability        445 Amer. w/Disabilities -       530 General                            IMMIGRATION                                                         950 Constitutionality of State
                                                                                                                                                                                  Statutes
    290 All Other Real Property            Employment                  535 Death Penalty                  462 Naturalization Application
                                       446 Amer. w/Disabilities -      540 Mandamus & Other               465 Other Immigration
                                           Other                       550 Civil Rights                       Actions
                                       448 Education                   555 Prison Condition
                                                                       560 Civil Detainee –
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN                   (Place an “X” in One Box Only)
✔ 1 Original               2 Removed         3 Re-filed        4 Reinstated           5   Transferred from              6 Multidistrict         7 Appeal to               8 Multidistrict
    Proceeding               from State        (See VI           or                       another district              Litigation
                                                                                                                                                  District Judge            Litigation      9 Remanded   from
                                                                                                                                                                                              Appellate Court
                             Court             below)            Reopened                 (specify)                     Transfer
                                                                                                                                                  from Magistrate           – Direct
                                                                                                                                                  Judgment                  File

VI. RELATED/                             (See instructions): a) Re-filed Case                 YES ✔ NO                   b) Related Cases           YES ✔ NO
RE-FILED CASE(S)                                         JUDGE:                                                                                    DOCKET NUMBER:
                                         Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 42 U.S.C 1981 Civil Rights Violations
                                         LENGTH OF TRIAL via 4                 days estimated (for both sides to try entire case)
VIII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION
                                                                                                          DEMAND $ 4,000,000.00                      CHECK YES only if demanded in complaint:
     COMPLAINT:                              UNDER F.R.C.P. 23
                                                                                                                                                   JURY DEMAND:                 ✔ Yes             No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD
         September 5, 2018

FOR OFFICE USE ONLY
RECEIPT #                            AMOUNT                    IFP                     JUDGE                                           MAG JUDGE

                                                               Save As...                      Print                       Reset
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                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                               Authority For Civil Cover Sheet
   The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the
official, giving both name and title.
       (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
        (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
noting in this section “(see attachment)”.
 II.    Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4
is checked, the citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.
IV.      Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature
of suit code that is most applicable. Click here for: Nature of Suit Code Descriptions.
V.      Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the
petition for removal is granted, check this box.
Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.
VI.    Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the
corresponding judges name for such cases.

VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553
                           Brief Description: Unauthorized reception of cable service
VIII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.


Date and Attorney Signature. Date and sign the civil cover sheet.
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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA

                                    MIAMI DIVISION

                                          CASE NO.:

  BREEALLE HOLLYFIELD,
  a California resident,
  DANNY JOHNSON,
  A California resident,
  KHEVIONNA DAVIS,
   a Georgia resident,
  and COURTNEY PETTIGREW
  a Nevada resident,

                      Plaintiffs,
  vs.
  VITORI PRODUCTIONS, INC.
  d/b/a CHEESEBURGER BABY,
  a Florida corporation,


                      Defendant.
                                                  /


                                SUMMONS IN A CIVIL CASE

        TO:   Vitori Productions, Inc.,
              d/b/a Cheeseburger Baby

              By servings its registered agent:

              STEPHANIE VITORI
              1505 WASHINGTON AVE
              MIAMI BEACH, FL 33139




        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFFS’
        ATTORNEY:

                                 SANTIAGO A. CUETO, ESQ.
                                  CUETO LAW GROUP, P.L.
                              4000 Ponce de Leon, Blvd., Suite 470
                                  Coral Gables, Florida 33146
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                                                          (305) 777-0377

  an answer to the complaint which is herewith served upon you, within twenty (20) days after service of this summons
  upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for the
  relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
  period of time after service.

  ________________________________                                      _____________________________
  CLERK                                                                 DATE

  ________________________________
  (BY) DEPUTY CLERK




                                                       RETURN OF SERVICE
                                                        DATE                         PLACE


SERVED

SERVED ON (PRINT NAME)                                                                         MANNER OF SERVICE




SERVED BY (PRINT NAME)                                                                           TITLE




                                                      DECLARATION OF SERVER


    I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained
in the Proof of Service is true and correct.


Executed on
                                               DATE                                SIGNATURE OF SERVER



                                                          ADDRESS OF SERVER
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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                          MIAMI DIVISION

                                                CASE NO.:

  BREEALLE HOLLYFIELD,
  a California resident,
  DANNY JOHNSON,
  A California resident,
  KHEVIONNA DAVIS,
   a Georgia resident,
  and COURTNEY PETTIGREW
  a Nevada resident,

                           Plaintiffs,
  vs.

  VITORI PRODUCTIONS, INC.
  d/b/a CHEESEBURGER BABY,
  a Florida corporation,


                           Defendant.
                                                         /

                         COMPLAINT AND DEMAND FOR JURY TRIAL

         COMES          NOW,      Plaintiffs,    BREEALLE      HOLYFIELD     DANNY       JOHNSON,

  KHEVIONNA DAVIS, and COURTNEY PETTIGREW, by and through undersigned counsel,

  and brings     this   action against          Defendant,   VITORI PRODUCTIONS,       INC.    d/b/a/

  CHEESEBURGER BABY, and as grounds thereof allege as follows:

                                                INTRODUCTION
         1.      This is an action against Vitori Productions, Inc. d/b/a Cheeseburger Baby to

  recover damages pursuant to Section 1981 of the Civil Rights Act of 1866, 42 U.S.C. § 1981, et

  seq., as amended, (“Section 1981”), negligence, and intentional infliction of emotional distress.
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                                           JURISDICTION

         2.      Jurisdiction of this Court arises under 28 U.S.C. §1331 because the Complaint

  alleges a federal claim and requires the resolution of substantial questions of federal law.

         3.      Venue in this District is proper under 28 U.S.C. §1391 because a substantial part

  of the events and omissions complained of took place in this District.

                                              PARTIES

         4.      At all times relevant to this Complaint, Plaintiffs Breealle Hollyfield, Danny

  Johnson, Khevionna Davis, and Courtney Pettigrew were and are U.S. Citizens over the age of

  18, and persons with standing to bring a claim under Section 1981.

         5.      Plaintiffs are all of African-American descent.

         6.      Breealle Hollyfield is a California resident and owner of several beauty bars in Los

  Angeles, California.

         7.      Danny Johnson is a resident of California.

         8.      Khevonia Davis is a resident of Georgia.

         9.      Courtney Pettigrew is a resident of Nevada.

         10.    Vitori Productions, Inc. is the owner and operator of Cheeseburger Baby, a popular

  chain of restaurants located in Miami-Dade County, Florida.

         11.    At all material times, the incident described herein occurred at the Cheeseburger

  Baby restaurant located at 1505 Washington Avenue in the heart of the South Beach entertainment

  district of Miami Beach, Florida.

         12.     At all material times, Defendant is liable for its employees’ actions under the

  doctrine of respondeat superior.
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                           BACKGROUND AND GENERAL ALLEGATIONS

         13.     Plaintiffs provide in this Background and General Allegations section the general

  substance of certain factual allegations. Plaintiffs do not intend that this section provide in exact

  detail any or all allegations. Rather, Plaintiffs intend that this section merely provide Defendant

  fair notice of the general nature and substance of their allegations.

        14.     On or about August 5, 2108, Plaintiffs gathered together in Miami Beach, Florida

  to celebrate the birthday of Khevionna Davis.

        15.     After spending the evening together, Plaintiffs entered the Cheeseburger Baby

  restaurant located at 1505 Washington Avenue, Miami Beach, FL to eat a late-night meal before

  heading back to their hotel.

        16.     Upon entering the restaurant, an employee of the restaurant told Plaintiffs that they

  were not going to be served and subjected Plaintiffs to racial slurs and other verbal abuse

  repeatedly shouting, among other things, that Plaintiffs were “broke a** n*****s” and demanded

  that Plaintiffs immediately leave the restaurant.

        17.     Upon being refused service and subjected to Defendant’s employee’s racial slurs

  and abuse, Plaintiffs left the restaurant and stood outside in front of the restaurant premises to

  wait for their Uber ride back to their hotel.

        18.     As Plaintiffs stood outside in front of the restaurant, a white female Cheeseburger

  Baby manager cracked open the front door of the restaurant and blasted Plaintiffs with what can

  only be described as an improvised water cannon to force Plaintiffs to scatter away from the

  front of the store. Video of the incident was captured by Plaintiffs.

        19.     The restaurant manager continued to blast Plaintiffs with the high-pressure water

  hose including Plaintiff Hollyfield who was still recovering from a serious bout of pneumonia.
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        20.        After several minutes, the manager closed the front door and walked towards the

  back of the store. As a result of the restaurant manager’s outrageous, willful and reckless actions,

  Plaintiffs were left soaking wet standing outside the restaurant.

        21.        Plaintiff Hollyfield returned to the restaurant the next day to lodge a complaint

  with the restaurant manager on duty at the time.

        22.        In response to Plaintiff Hollyfield’s visit to the restaurant, the owner of the

 restaurant called Plaintiff Hollyfield to apologize.

         23.       Upon information and belief, a restaurant employee and the manager on duty at the

  time of the incident were terminated as a result of their conduct.


         24.       All conditions precedent to the filing of this action have occurred or have been

  waived.

                                                COUNT I
                                            Violation of §1981

         25.       Plaintiffs repeats, realleges and incorporates paragraphs 1 through 24.

         26.       As described above, Defendant’s outrageous conduct constituted discrimination

  because of Plaintiff’s race in violation of Section 1981 of the Civil Rights Act of 1966, as

  amended, 42 U.S.C. § 1981, et seq.

         27.       Through Defendant’s discriminatory conduct, it deprived Plaintiffs of their right

  to make and enforce contracts on the same terms as enjoyed by white persons, in violation of 42

  U.S.C. § 1981.

         28.       In addition, Defendant is liable for its employees’ actions under the doctrine of

  respondeat superior.

         29.       Plaintiffs are African-American individuals. Not only did Defendant deny

  Plaintiffs the opportunity to eat at its establishment, Defendant blasted Plaintiffs with a high-
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  pressure water hose solely because they are of African-American descent. Plaintiffs’ race was the

  motivating factor why Defendant discriminated against them. By virtue of Defendant’s actions

  and inactions as set forth above, Defendant has violated §1981.

         30.     Defendant’s conduct in discriminating against Plaintiffs due to their race was

  intentional. Defendant engaged in a discriminatory practice with malice or with reckless

  indifference to the federally protected rights of Plaintiffs.

         31.     As a direct and proximate result of Defendant’s actions, Plaintiffs have suffered

  physical injury, personal humiliation, loss of capacity for the enjoyment of life, mental anguish,

  and embarrassment justifying an award including compensatory damages and punitive damages

  according to proof against Defendant.

         32.     As a result of the deprivations of rights at the hands of Defendant, Plaintiffs have

  retained Cueto Law Group, P.L., and has agreed to pay them a reasonable fee, which Plaintiffs

  are entitled to recover pursuant to 42 U.S.C. 1988(b) and otherwise by law.

         WHEREFORE, Plaintiffs demand judgment against Defendant for damages as set forth

         above, attorney’s fees and costs pursuant to 42 U.S.C. 1988(b) and for such further relief

         as this Court deems just and equitable.

                                               COUNT II

         33.     Plaintiff repeats, realleges and incorporates paragraphs 1 through 24.

         34.     Plaintiffs were business invitees at Defendant’s premises and were lawfully on the

  premises for the purpose of purchasing a meal.

         35.     Defendant owed a duty to Plaintiffs to provide Plaintiffs with a safe environment,

  to employ competent employees and to supervise its employees in maintaining a safe

  environment.

         36.     After being refused service as discussed in the general allegations, Defendant’s
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   employee blasted Plaintiffs with an improvised water cannon using a high-pressure industrial hose

   from within the restaurant as they stood in front of the restaurant.

           37.    The negligent acts of the Defendants created a dangerous or negligent condition for

   Plaintiffs by failing to provide a safe environment for Plaintiffs, and/or by employing careless and

   reckless employees, and/or failing to exercise proper supervision of said employees in maintaining

   a safe environment.

           38.    As a direct and proximate result of Defendant’s negligence, Plaintiffs have suffered

   bodily injury, and resulting pain and suffering, disability, mental anguish and loss of earnings and

   has incurred substantial medical expenses for treatment and care, past, present and future. Said

   losses, injuries, and expenses are either permanent or continuing in nature and Plaintiffs will

   continue to suffer same in the future.


           WHEREFORE, Plaintiffs demands judgment against Defendant, for damages as set forth

           above and for such further relief as this Court deems proper.


                                              COUNT III
                              Intentional Infliction of Emotional Distress

           39.    Plaintiffs repeats, realleges and incorporates paragraphs 1 through 24.

           40.    The acts described herein constitute extreme and outrageous conduct against the

   Plaintiffs.

           41.     Defendant engaged in the outrageous conduct with reckless disregard of the high

   probability of causing Plaintiffs to suffer emotional distress.

           42.    Plaintiffs suffered severe emotional distress and the outrageous conduct of

   Defendants was a cause of the emotional distress suffered by Plaintiffs.

            43.   Defendant’s outrageous actions were willful malicious, deliberate, and were done
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   with reckless or negligent indifference to the likelihood that such behavior would cause severe

   emotional distress and with utter disregard for the consequences of such actions.

           44.     Plaintiffs are entitled to compensatory and punitive damages in amounts to be

   ascertained at trial.


           WHEREFORE, Plaintiffs demand judgment against Defendant for damages as set forth

           above and for such further relief as this Court deems proper.


                                  DEMAND FOR JURY TRIAL

           Plaintiffs hereby demand a trial by jury of all issues so triable.

                                                  Respectfully Submitted,


                                                 Respectfully submitted,
                                                 CUETO LAW GROUP P.L.
                                                 Attorneys for Plaintiff
                                                 4000 Ponce de Leon Blvd., Suite 470
                                                 Coral Gables, Florida 33146
                                                 Tel.: (305) 777-0377
                                                 Fax: (305) 777-0449
                                                 Email: sc@Cuetolawgroup.com

                                                 By:_______________________
                                                 SANTIAGO A. CUETO, ESQ.,
                                                 Florida Bar No.: 0162566
